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                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 IN RE:
                                                         CHAPTER 11
 FAITH APOSTOLIC DELIVERANCE
 CHURCH, INC.,                                           CASE NO. 20-63879-sms

            Debtor.

    APPLICATION REQUESTING ENTRY OF ORDER ESTABLISHING CERTAIN
              DEADLINES PURSUANT TO INTERIM RULE 3017.2

       COMES NOW, Faith Apostolic Deliverance Church, Inc. (“Debtor”), by and through the

undersigned counsel, and hereby files this “Application Requesting Entry of Order Establishing

Certain Deadlines Pursuant to Interim Rule 3017.2” (the “Application”). Debtor respectfully

requests an order: (1) scheduling the Plan confirmation hearing, (2) approving the form and content

of Debtor’s ballot, (3) establishing a deadline for filing objections to the Plan, and (4) establishing

a deadline for casting ballots to accept or reject the Plan. In support of the Application, Debtor

respectfully shows the Court as follows:

                                            Jurisdiction

       1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. § 1334. The

subject matter of this Application constitutes a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2). Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory basis for the

relief requested is 11 U.S.C. § 1191 and 105 and this Court’s Interim Rule 3017.2, as made

applicable by General Order No. 30-2020.

       2.      On March 3, 2020 (“Petition Date”), Debtor filed a voluntary petition for relief

under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§101 et seq. (“Bankruptcy
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Code”), in the United States Bankruptcy Court for the Northern District of Georgia, Rome Division

(“Court”). Debtor elected treatment as a debtor under Subchapter V of Chapter 11.

       3.      Debtor continues to operate its business and manage its affairs as a Subchapter V

debtor in possession pursuant to § 1184 of the Bankruptcy Code.

       4.      Tamara Miles Ogier was appointed as Subchapter V Trustee in this case.

       5.      On May 27, 2020 Debtor filed its Subchapter V Plan of Reorganization (the

“Plan”).

                                          Relief Requested

       6.      By this Application, Debtor requests entry of an order: (a) scheduling the Plan

confirmation hearing, (b) approving the form and content of Debtor’s ballot, (c) establishing a

deadline for filing objections to the Plan, and (d) establishing a deadline for casting ballots to

accept or reject the Plan.

       7.      Interim Rule 3017.2 states:

       In a case under subchapter V of chapter 11 in which § 1125 does not apply, the
       court shall:

       (a) Fix a time within which the holders of claims and interests may accept or reject
           the plan;
       (b) Fix a date on which an equity security holder or creditor whose claim is based
           on a security must be the holder of record of the security in order to be eligible
           to accept or reject the plan;
       (c) Fix a date for the hearing on confirmation; and
       (d) Fix a date for transmission of the plan, notice of the time within which the
           holders of claims and interest may accept or reject the plan, and notice of the
           date for the hearing on confirmation.

       8.      Debtor’s case was filed as a Subchapter V case. The Court has not entered an order

applying § 1125 to this case. See § 1181(b) (“Unless the court for cause orders otherwise . . . §

1125 [does] not apply in a case under this subchapter.”).
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       9.      The Plan was timely filed pursuant to § 1189 and is in accordance with Rule 3016

of the Federal Rules of Bankruptcy Procedure (the “Rules”).

       10.     Debtor requests that the Court enter an order setting forth the following deadlines:



     (a)     Deadline for Debtor to transmit the                   May 29, 2020
             plan and notice of deadline for
             voting on plan and confirmation
             hearing.
     (b)     Deadline for equity security holders                  June 30, 2020
             or creditors to be holders of record
             to vote on the plan
     (c)     Deadline to accept or reject the plan                 June 30, 2020

     (d)     Hearing on confirmation                          July 3, 2020 at 11:00 am

       11.     Debtor further requests that the Court approve the form and content of the Ballot

attached hereto and incorporated herein as Exhibit “A”. Ballots will be provided to creditors and

parties in interest entitled to vote along with the Plan.

       12.     An order granting this Application and the relief requested herein will be submitted

contemporaneously herewith.

       WHEREFORE, Debtor requests that the Court enter an order granting this Application and

the relief requested herein and such other and further relief as may be deemed just and proper.

       Respectfully submitted this 27th day of May, 2020.

                                                       JONES & WALDEN, LLC

                                                       /s/ Cameron M. McCord
                                                       Cameron M. McCord
                                                       Georgia Bar No. 143065
                                                       Attorney for Debtor
                                                       699 Piedmont Ave NE
                                                       Atlanta, Georgia 30308
                                                       (404) 564-9300
                                                       cmccord@joneswalden.com
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                                    EXHIBIT “A”
                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                      CHAPTER 11
 FAITH APOSTOLIC DELIVERANCE
 CHURCH, INC.,                                        CASE NO. 20-63879-sms

          Debtor.

            BALLOT FOR ACCEPTING OR REJECTING DEBTOR’S PLAN

        On May 27, 2020, Debtor filed its Subchapter V Plan of Reorganization (“Plan”), and an
Application Requesting Entry of Order Establishing Certain Deadlines Pursuant to Interim Rule
3017.2 (the “Application”). The Court has approved the deadlines set forth herein. If you do not
have a copy of the Plan, you may obtain a copy from Jones & Walden, LLC, 699 Piedmont Ave
NE, Atlanta, Georgia 30308, 404-564-9300 (telephone), 404-564-9301 (facsimile). The Plan is
available for review in the Office of the Clerk, U.S. Bankruptcy Court, 75 Ted Turner Drive, SW,
Room 1340, Atlanta, GA 30303 during normal business hours or online at
http://ecf.ganb.uscourts.gov (registered users) or at http://pacer.psc.uscourts.gov (unregistered
users).

        You should review the Plan before you vote. You may wish to seek legal advice
concerning the Plan and your classification and treatment under the Plan. If you hold claims
or equity interests in more that one class, you may receive a ballot for each class in which
you are entitled to vote and you may use a copy of the ballot or request an additional ballot
if you do not receive one.

       If your ballot is not received by the Office of the Clerk, U.S. Bankruptcy Court, 75
Ted Turner Drive, SW, Room 1340, Atlanta, GA 30303 on or before ___________ and such
deadline is not extended, your vote will not count as either an acceptance or rejection of the
Plan.

       If the Plan is confirmed by the Bankruptcy Court it will be binding on you whether
or not you vote.
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                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 IN RE:
                                                         CHAPTER 11
 FAITH APOSTOLIC DELIVERANCE
 CHURCH, INC.,                                           CASE NO. 20-63879-sms

           Debtor.

                     BALLOT FOR ACCEPTING OR REJECTING PLAN

The Plan referred to in this ballot can be confirmed and thereby made binding on you if it is
accepted by the holders of two-thirds in amount and more than one-half in number of claims in
each Class. If the required acceptances are not obtained, the Plan may nevertheless be confirmed
if the Court finds that the Plan accords fair and equitable treatment to the Class or Classes rejecting
it or the Plan otherwise satisfies the requirements of Section 1191(b) of the Code.

    TO HAVE YOUR VOTE COUNT, YOU MUST COMPLETE AND RETURN THIS
BALLOT ON OR BEFORE ____________ TO:

                                 Clerk, U.S. Bankruptcy Court
                             75 Ted Turner Drive, SW, Room 1340
                                      Atlanta, GA 30303

You must also deliver a copy of the completed, signed ballot to Debtor’s Attorney at: Jones &
Walden LLC, 699 Piedmont Avenue NE, Atlanta, Georgia 30308, Attn: Cameron M. McCord.
The undersigned is a holder of [check one:]
      ___ a secured claim
      ___ an unsecured claim
      ___ other [specify:__________________________________________]

In the amount of $_________________, in Class ______ and hereby:
                               ______ Accepts         ______ Rejects
                                 Debtor’s Plan of Reorganization

Date: ____________________                     Creditor: _______________________________
                                                       Print or Type Name
                                               Signed: ________________________________
Email address of signing representative:       [If appropriate] as: _______________________
________________________________                       Title
Print name: ______________________             Address: _______________________________
                                                        ________________________________
                                               Phone Number: __________________________
                                               Email Address: __________________________
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

 IN RE:
                                                       CHAPTER 11
 FAITH APOSTOLIC DELIVERANCE
 CHURCH, INC.,                                         CASE NO. 20-63879-sms

          Debtor.

                                CERTIFICATE OF SERVICE

        This is to certify that on this day the foregoing Application Requesting Entry of Order
Establishing Certain Deadlines Pursuant to Interim Rule 3017.2 (“Application”) was
electronically filed using the Bankruptcy Court’s Electronic Case Filing program which sends a
notice of and accompanying link to the Application to the following parties who have appeared in
this case under the Bankruptcy Court’s Electronic Case Filing program:

   •   Ron C. Bingham ron.bingham@arlaw.com, lianna.sarasola@arlaw.com
   •   Tamara M. Ogier (Sub V Trustee) tmo@orratl.com,
       jc@orratl.com;tmo@trustesolutions.net
   •   Shawna Staton shawna.p.staton@usdoj.gov
   •   David S. Weidenbaum david.s.weidenbaum@usdoj.gov

        I further certify that on this day I caused a true and correct copy of the Application to be
served via First Class United States mail in a properly addressed envelope with sufficient postage
affixed thereto to ensure delivery upon the parties listed below:

       Office of the United States Trustee
       362 Richard B. Russell Federal Building
       75 Ted Turner Drive, SW
       Atlanta, Georgia 30303

       This 27th day of May, 2020.
                                                     JONES & WALDEN, LLC

                                                     /s/ Cameron M. McCord
                                                     Cameron M. McCord
                                                     Georgia Bar No. 143065
                                                     Attorney for Debtor
                                                     699 Piedmont Ave NE
                                                     Atlanta, Georgia 30308
                                                     (404) 564-9300
                                                     cmccord@joneswalden.com
